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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ANTHONY BUZZELLI AND LORRAINE                       Case No. 2:20-cv-00425
BUZZELLI,
                                                    The Hon. Arthur J. Schwab
                  Plaintiff,

         v.

NOVARTIS PHARMACEUTICALS
CORPORATION,

                  Defendant.                        ELECTRONICALLY FILED


                               Fed. R. Civ. P. 26(f) REPORT OF THE PARTIES

               Counsel for the parties and unrepresented parties shall confer regarding the matters

identified herein and prepare a signed report in the following form to be filed at least 21 days

before the Initial LCvR 16.1 Scheduling Conference or at such other time as ordered by the

court. This report form may be downloaded from the Court’s website as a word-processing

document and the information filled in as requested on the downloaded form. The dates to be

provided in the report are suggested dates and may be accepted or modified by the Court.


        1.     Identification of counsel and unrepresented parties. Set forth the names,
addresses, telephone and fax numbers and e-mail addresses of each unrepresented party and of
each counsel and identify the parties whom such counsel represent:

Christopher R. LoPalo                        CONSTANTINE J. PASSODELIS, ESQUIRE
W. Steven Berman                             Email: dpassodelis@jonespassodelis.com
Napoli Shkolnik PLLC                         MARIE MILIE JONES, ESQUIRE
1 Greentree Centre                           Email: mjones@jonespassodelis.com
10,000 Lincoln Drive East                    JonesPassodelis, PLLC
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 (Counsel for Plaintiffs)                    (412) 315-7272
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                                               AND


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                                               (202) 898-5800
                                               (202) 682-1639

                                               Counsel for Defendant Novartis Pharmaceuticals
                                               Corporation



2.             Set forth the general nature of the case (patent, civil rights, anti-trust, class action,
               etc.):

           This is a product liability lawsuit in which plaintiffs’ claims relate to injuries allegedly

caused by Tasigna® – a cancer medication made by Novartis Pharmaceuticals Corporation

(“NPC”) that is FDA-approved to treat patients with Philadelphia chromosome positive chronic

myeloid leukemia. NPC denies plaintiffs’ claims.

3.             Date Rule 26(f) Conference was held, the identification of those participating
               therein and the identification of any party who may not yet have been served or
               entered an appearance as of the date of said Conference:

           On May 20, 2020 at 11:30 a.m., the parties conducted a 26(f) conference via telephone

and the participants were: Christopher R. LoPalo and W. Steven Berman and on behalf of the

plaintiffs, and Constantine J. Passodelis, Francesca M. Miller, Donald R. McMinn, and Douglas

Jackson-Quzack on behalf of NPC.

4.             Date of Rule 16 Initial Scheduling Conference as scheduled by the Court: (Lead
               Trial Counsel and unrepresented parties shall attend the Rule 16 Initial Scheduling
               Conference with their calendars in hand for the purpose of scheduling other pre-trial


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               events and procedures, including a Post-Discovery Status Conference; Counsel and
               unrepresented parties shall attend the Rule 16 Initial Scheduling Conference prepared to
               discuss the anticipated number of depositions and identities of potential deponents and
               the anticipated dates by which interrogatories, requests for production of documents and
               requests for admissions will be served):

           Rule 16 Initial Scheduling Conference is scheduled to be held on June 3, 2020 at

9:30 a.m.


5.             Identify any party who has filed or anticipates filing a dispositive motion pursuant
               to Fed. R. Civ. P. 12 and the date(s) by which any such anticipated motion may be
               filed:

           NPC filed an Answer to Complaint and Affirmative Defenses on April 23, 2020. See

(ECF No. 6).

6.             Designate the specific Alternative Dispute Resolution (ADR) process the parties
               have discussed and selected, if any, and specify the anticipated time frame for
               completion of the ADR process. Set forth any other information the parties wish to
               communicate to the court regarding the ADR designation

           The parties have agreed to participate in mediation, as set forth in the parties’ ADR

stipulation.

7.             Set forth any change that any party proposes to be made in the timing, form or
               requirements of Fed. R. Civ. P. Rule 26(a) disclosures, whether such change is
               opposed by any other party, whether any party has filed a motion seeking such
               change and whether any such motion has been ruled on by the Court:

               The parties do not anticipate any change to the timing, form or requirements of Fed. R.

Civ. P. Rule 26(a) disclosures at this time.

8.             Subjects on which fact discovery may be needed. (By executing this report, no party
               shall be deemed to (1) have waived the right to conduct discovery on subjects not listed
               herein or (2) be required to first seek the permission of the Court to conduct discovery
               with regard to subjects not listed herein):

           The parties anticipate discovery to include, but not limited to, the following subjects:




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•              Fact discovery relating to plaintiffs, including medical, employment, and behavioral

               history;

•              Corporate discovery related to NPC’s product, Tasigna®, such as the FDA regulatory

               file, including the New Drug Application;

•              Expert discovery, including on general and specific causation; and

•              Depositions of fact and expert witnesses.

9.             Set forth suggested dates for the following (The parties may elect by agreement to
               schedule a Post-Discovery Status Conference, as identified in Paragraph 12, below, at
               the conclusion of Fact-Discovery rather than at the conclusion of Expert Discovery. In
               that event, the parties should provide suggested dates only for the events identified in
               sub-paragraphs 9.a through 9.e, below. The parties shall provide such information even
               if dispositive motions pursuant to Fed. R. Civ. P. 12 have been or are anticipated to be
               filed. If there are dates on which the parties have been unable to agree, set forth the date
               each party proposes and a brief statement in support of each such party’s proposed date.
               Attach to this report form a proposed Court Order setting forth all dates agreed to below
               and leaving a blank for the insertion of a date by the Court for any date not agreed to):

Parties’ Preliminary Statement Regarding Proposed Dates:

           The parties respectfully request that the discovery deadlines in this case be based on trial

occurring within two years after the initial case management conference, rather than the

timeframe contemplated by the Court’s case management order template. As an initial matter, it

is unclear at this stage the scope of the discovery that plaintiffs may seek from NPC. Plaintiffs

will likely seek to depose numerous current and former employees of NPC and the production of

millions of pages of NPC documents. Although plaintiffs’ counsel will have access to discovery

taken in two prior cases involving Tasigna®, plaintiffs have indicated an intent to take additional

discovery. Moreover, NPC is a defendant in 30 cases in federal courts and in New Jersey state

court involving claims arising from treatment with NPC’s product, Tasigna®, and the number of

cases likely will continue to grow. The parameters and scope of discovery of NPC in these

matters merits informal coordination in terms of protocols such as search terms and custodians.

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The parties have started these discussions, but it will take time to confer and reach agreements

about these issues. Plaintiffs also agree that informal coordination may provide efficiencies and

reduce or eliminate duplication during discovery, especially concerning depositions of corporate

representatives and witnesses, where practicable.

           Importantly, this case implicates an array of scientific, medical, and regulatory issues that

will be the subject of wide-ranging expert reports and testimony. NPC anticipates that the parties

will designate a dozen, or perhaps more expert witnesses (six per party, or more), which does not

include the numerous treating physicians who will need to be deposed. NPC expects that it will

seek evidentiary hearings on its Daubert motions that will challenge the admissibility of

plaintiffs’ experts.

           Additionally, discovery in this case includes the need to obtain copies of medical records

from Mr. Buzzelli’s healthcare providers. The records collection process takes time, and is

iterative in nature. As each set of records is received, they must be reviewed, and follow-up

undertaken, to ensure that the provider has produced a complete set of records. Also, review of

collected records inevitably leads to the identification of additional healthcare providers or

locations of treatment, and new requests must be made to collect those. Although the parties will

work diligently to collect records, often facilities take significant amounts of time to respond to

requests.

           COVID-19 enhances the challenge associated with records collection. The process will

likely require additional time because of the burden that the pandemic has put on healthcare

providers and the possibility that offices, due to social distancing considerations, are closed or

will not have extra staff available on-site to locate and copy needed records. Similarly, witness

preparation schedules will be disrupted by various stay at home orders; while some of those



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orders are beginning to be lifted or relaxed, substantial restrictions on travel (including in New

Jersey, where NPC is located) are expected to continue for months and there will be 14-day

quarantine requirements if individuals travel to certain areas. There also is the possibility of

restrictions being reinstated in the fall, when many models are expecting a rise in the number of

infections. Given the unprecedented situation and the logistical hurdles surrounding COVID-19,

NPC requests that the Court set a schedule that builds in additional time for the parties to work

around these issues.

           Against this backdrop, the parties have provided proposed deadlines below.

           a.        Date(s) on which disclosures required by Fed. R. Civ. P. 26(a) have been or
                     will be made: June 17, 2020

           b.        Date by which any additional parties shall be joined: July 12, 2020.

           c.        Date by which the pleadings shall be amended: July 12, 2020.

           d.        Date by which fact discovery should be completed: August 3, 2021

           e.        If the parties agree that discovery should be conducted in phases or limited
                     to or focused on particular issues, identify the proposed phases or issues and
                     the dates by which discovery as to each phase or issue should be completed:

           The parties are not proposing phased discovery with the exception of expert discovery to

be completed after the close of fact discovery as set forth below.


           f.        Date by which plaintiff’s expert reports should be filed: October 4, 2021

           g.        Date by which depositions of plaintiff’s expert(s) should be completed:
                     December 20, 2021

           h.        Date by which defendant’s expert reports should be filed1: November 4, 2021

           i.        Date by which depositions of defendant’s expert(s) should be completed:
                     January 20, 2022.

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  While the parties would prefer not to file their expert reports as they will contain confidential and proprietary
information, they anticipate seeking a Protective Order to maintain the confidentiality of plaintiff’s and defendant’s
expert reports required to be filed. Please see paragraph 13.

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           j.        Date by which third party expert’s reports should be filed: N/A

           k.        Date by which depositions of third party’s expert(s) should be completed:
                     N/A

10.            If the parties agree that changes should be made to the limitations on discovery
               imposed by the Federal Rules of Civil Procedure or Local Rule or that any other
               limitations should be imposed on discovery, set forth such changes or limitations:
               No changes except as set forth in paragraph 13.

11.            Please answer the following questions in regard to the discovery of electronically
               stored information (“ESI”):

           a.        ESI. Is either party seeking the discovery of ESI in this case?
                 [X]Yes □            No [If “No,” skip to sub-part (e) below.]

           b.        ESI Discovery Plan. The parties have reviewed and discussed the Court’s
                     Checklist for Rule 26(f) Meet and Confer Regarding Electronically Stored
                     Information set forth in “Appendix LCvR 26.2.C-CHECKLIST” to the Local
                     Rules and:

                 □       Have agreed that, in light of the facts and issues in this case, there is no need
                         to complete an ESI discovery plan, and will conduct ESI discovery by


                                                                                                  .
                 □       Have developed an ESI discovery plan (as attached).

                        Will have an ESI discovery plan completed by: July 10, 2020

           NOTE: At the direction of the Court, parties may be required to submit a draft of the
                 Stipulated Order re: Discovery of Electronically Stored Information for Standard
                 Litigation set forth in “Appendix LCvR 26.2.E-MODEL ORDER” to the Local
                 Rules, to address specific issues relative to the parties’ exchange of electronic
                 discovery and ESI. If the parties are unable to do so, they should advise the
                 Court promptly.

           c.        Preservation. Have the parties agreed on any protocol for the preservation of
                     electronic data and/or potentially relevant ESI?

                           Yes            □       No


           d.        ADR. Does any party believe that the exchange of ESI is necessary prior to
                     conducting meaningful Alternative Dispute Resolution (“ADR”) in this case?

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                           Yes    □       No

           e.         Clawback Agreement. The parties have reviewed F.R.C.P. 26(b)(5), F.R.E. 502
                      and LCvR 16.1.D, Procedures Following Inadvertent Disclosure, and:

                           Request the Court enter an Order implementing Federal Rule of Evidence
                            502(d) such as the model Order set forth in “Appendix LCvR 16.1.D” to
                            the Local Rules and filed with this Report.

                     □      Have agreed on alternate non-waiver language, which either is or will be
                            incorporated within the ESI discovery plan.

                     □      Are unable to agree on appropriate non-waiver language.

           f.         EDSM and E-Mediator. Does any party believe that the appointment of an E-
                      Discovery Special Master (“EDSM”) or E-Mediator would help resolve ESI
                      discovery issues in this case? For further information, see the Court’s official
                      website at http://www.pawd.uscourts.gov.

                     □      Yes           No

           g.         Other. Identify all outstanding disputes concerning any ESI issues:




12.            Set forth whether the parties have elected to schedule the Post-Discovery Status
               Conference following the completion of Fact Discovery or Expert Discovery; in
               either event the parties shall be prepared at the Post-Discovery Status Conference
               to discuss and/or schedule the following: (The parties are not required during their
               Rule 26(f) Conference to consider or propose dates for the items identified below.
               Those dates will be determined, if necessary, at the Post-Discovery Status
               Conference. Lead trial counsel for each party and each unrepresented party are
               required to attend the Post- Discovery Status Conference with their calendars in
               hand to discuss those items listed below that require scheduling. In addition, a
               representative with settlement authority of each party shall be required to attend;
               representatives with settlement authority of any insurance company providing any
               coverage shall be available throughout the Conference by telephone):

           a.         Settlement and/or transfer to an ADR procedure;

           b.         Dates for the filing of expert reports and the completion of expert discovery
                      as itemized in sub-paragraphs 9.f. through 9.k., above, if the parties elected
                      to defer such discovery until after the Post-Discovery Status Conference;


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           c.        Dates by which dispositive motions pursuant to Fed. R. Civ. P. 56, replies
                     thereto and responses to replies should be filed;

           d.        Dates by which parties’ pre-trial statements should be filed;

           e.        Dates by which in limine and Daubert motions and responses thereto should
                     be filed;

           f.        Dates on which motions in limine and Daubert motions shall be heard;

           g.        Dates proposed for final pre-trial conference;

           h.        Presumptive and final trial dates.

           The parties have elected to schedule the Post-Discovery Status Conference following the

completion of Expert Discovery, and request the Court conduct an evidentiary hearing related to

the expected Daubert issues in this case.


13.            Set forth any other order(s) that the parties agree should be entered by the court
               pursuant to Fed. R. Civ. P. 16(b) or 26(c):

           As this time, NPC has presented a proposed stipulated confidentiality and protective

order (“Protective Order”) related to the disclosure of information in this case (Ex. 1). Such

orders are typical and customary in product liability cases, especially those involving regulated

pharmaceutical products. NPC’s proposed Protective Order is substantially similar to protective

orders that were developed in two prior cases involving the same product at issue in this case.

There were more than 10.6 million pages of searchable documents produced in those cases that

will be made available to plaintiff once the parties in this case enter into a substantially similar

Protective Order. Additionally, the parties anticipate seeking protection from disclosure of

confidential and proprietary information contained in their respective expert reports through the

filing of a Protective Order. Plaintiffs note that they may request the right to propound additional




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 interrogatories but cannot make that determination prior to Rule 26 disclosures, including access

 to discovery responses from other litigations.

14.         Set forth whether the parties anticipate that the court may have to appoint a special
            master to deal with any matter and if so, specify the proposed role of any such
            master and any special qualifications that such master may require to perform such
            role:

            No, the parties do not anticipate the appointment of a special master in this case.

15.         If the parties have failed to agree with regard to any subject for which a report is
            required as set forth above, except for proposed dates required in paragraph 9,
            above, briefly set forth the position of each party with regard to each matter on
            which agreement has not been reached:

            N/A

16.         Set forth whether the parties have considered the possibility of settlement of the
            action and describe briefly the nature of that consideration:

            The parties have agreed to mediation and will participate in good faith.



                                          Respectfully submitted,


                                          S/W. Steven Berman
                                          Counsel for Plaintiffs


                                          S/Constantine J. Passodelis
                                          Counsel for Novartis Pharmaceuticals Corporation




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